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                                                        January 22, 2021
       BYECF
       Hon. Sidney H. Stein
       United States District Judge                                              MEMO ENDORSED
       Southern District of New York
       500 Pearl Street
       New York, New York 10007

                  Re: United States v. Cheedie, 19 CR 833 (SDNY)

        Dear Judge Stein:

              I am writing on behalf of defendant Derek Larkin and following yesterday's change of
       plea hearing to respectfully withdraw Mr. Larkin's December 1, 2020 omnibus pretrial motions
       which remain pending at this time.

                  Thank you for the Court's consideration on this matter.


                                                                          submitted,




       cc:        All counsel (by ECF)

                                         Application granted. The Clerk of Court shall terminate all pending motions as
                                         to this defendant.
                                         Dated: New York, New York
                                                 January 22, 2021
